Case 22-10609-amc   Doc 403-1 Filed 02/09/24 Entered 02/09/24 16:03:27   Desc
                            Exhibit A Page 1 of 6



                            EXHIBIT “A”
    Case 22-10609-amc     Doc 403-1 Filed 02/09/24 Entered 02/09/24 16:03:27 Desc
        Case 22-10609-amc Claim 19Exhibit
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 B10 (Official Form 10)       13):                                                                                                       —..2..... ./Ftr
                                                                                                                                                     i ILtXM
 UNITED States Bankruptcy Court                                     Eastern District of Pennsylvania                                             KUUV Uh CLAIM
 Nuine of Debtor:                                                                             Case Number:
                                                                                                                                                       APR 1 3 2022
   Scungio Borst & Assoc LLC                                                                    22-10609-amc


                                                                                                                                               1 IMOTHY McGRATH, CLEW
                                                                                                                                                                  f A tk-eiDEP- CL
  NOTE: Du not use thisfarm to make a chiimfor ait odminixtralivc expense that arises afier the bankruptcy filing. You
            mayfile a requestfor payment ofan ailministrutivc expense ac-Wiling to I1 CSC. $3113.
 Name of Creditor (the person or other entity to whom the debtor owes money nr propenyl:
   Ani & Joe Abatement & Demolition LLC
                                                                                                                                                COURT USE ONLY
 Name and address where notices should be sent:                                                                                       □ Check this box if this claim amends a
   Ani & Joe Abatement & Demolition LLC                                                                                               previously filed claim.
   1212 Burlington Ave
   Delanco, NJ 08075                                                                                                                  Court Claim Number:______________
                                                                                                                                       (Ifknown)
 Tclephonenumber:(609)346.0916                   email:     joe hill@mail.COm
                                                                                                                                      Filed on:_____________________
 Name and address where payment should be sent (if different from above):                                                             Cl Check this box if you are aware that
   Ani & Joe Abatement & Demolition LLC                                                                                               anyone else has filed a proof of claim
   1212 Burlington Ave                                                                                                                relating to this claim. Attach copy of
   Delanco. NJ 08075                                                                                                                  statement giving particulars.

Telephone number: (609) 346-0916                 e"”*       joe hill@mail.com
 1. Amount or Chiin us of Dole Case Filed:                    $                           19»00Q>00

 If all or part of the claim is secured, complete item 4,

 If all or part of the claim is entitled to priority, complete hem 5,

 □ Check this box if ihe claim includes interest or other charges in addition u> the principal amount of the claim. Attach a statement that itemizes interest or charges.

2. Basis for Claim:        Work completed at 418 Federal St - Camden. NJ 080103
    (See instruction #2)


3. Lust four digits of any number             3a. Debtor may have scheduled uccount as:           3b. Uniform Chiin Identifier (optional):
by which creditor identifies debtor:
      2     17         6                                                                                             W—« MWT SMm "WM WMV WW WMV WMV MWT VMM WW> WW. MMW. WW. 1111111 VMM
                                              (See instruction =3a)                                (Sec instruction #3b)
                                                                                                  Amount of arrearage and other charges, as of the time case was filed,
4. Secured Claim (See instruction #4)                                                             included in secured claim, if any:
Check the appropriate box if the claim is secured by a lien on property or a right of
setoff, attach required redacted documents, and provide the requested information                                                        S

Nature of property ur right of setoff: □ Real Estate          OMotor Vehicle     aothci           Basis for perfection:_______
Describe:

Value of Property: S________________                                                              Amnunt of Secured Claim:              $        _____________

Annual Interest Rate.______ % □Fixed            or □Variable                                      Amount Unsecured:                     S
(when case was filed)


5. Amnunt of Claim Entitled to Priority under 11 U.S.C. § 507 (a). If any part of the claim falls into one of the following categories, check the box specifying
Ihe priority and state the amount.

fl Domestic support obligations under I!          □ Wages, salaries, or commissions tup to S12.475*)             □ Contributions to an
U.S.C. § 507 (a)(I )(A) or (a)(1)(B).             earned within IX0 days before the case was tiled or the        employee benefit plan -
                                                  debtor’s business ceased, whichever is earlier■-               II U.S.C. § 507 (a)(5).
                                                  11 U.S.C. 5 507 (a)(4).                                                                         Amount entitled to priority:

O Up Io S2.775* of deposits toward                □ Taxes or penalties owed to gowntmenta! units -                Mother - Specify
purchase, lease, or rental of property or         11 U.S.C. ? 507 (a )(S).                                       applicable paragraph of
services for personal, family, or household                                                                      II U.S.C. § 507 (a)(_).
use-II U.S.C. § 507 (a)(7).


           arc subject Io mljiatnienl on 4/07/7d anil every 3 years thereafter with ivtpcct to ruses toninieuceti on or uber the. tittle ofatljustmeill.


6. Credits. The amount of ail payments utt this claim tins been credited for the purpose of making this proof of claim. (Sec instruction lift)
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 B IO (Official Form 10) (04/13)       ..                   ......................                      ..............................                                     I
 7. Documents: Attached are redacted copies of any documenta that support the claim, such as promissory notes. purchase orders, invoices, itemized statements of
 running accounts, contracts, judgments, mortgages, security agreements, or, in the case of a claim based on an open-end or revolving consumer credit agreement, a
 statement providing the information required hy FRBP 3(101 (CM3RA). If the claim is secured, box 4 has been completed, and redacted copies of documents providing
 evidence of perfection of a security interest are attached, If the claim is secured by the debtor's principal residence, the Mortgage Proof of Claim Attachment is being:
 filed with this claim, f&e iasuvrtiMt S~, und the definition <>f "redacted".)

 DO NOT SEND ORIGINAL DOCUMENTS. ATTACIIF.D DOCUMENTS MAY HE DESTROYED AFTER SCANNING,

 If the documents are not available, please explain:

 8. Signature: (See instruction «K)

 Check the appropriate box,

 S^l um the creditor.      □ I am the Creditor’s authorized agent.          D I am the trustee, or the debtor,          3 I am a guarantor, surety, indorser, or other codebtor,
                                                                            or their authorized agent.                  (Sec Bankruptcy Rule 3005.)
                                                                            (See Bankruptcy Rule 3<KM,)

 I declare under penally of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

 Print Name:   Joseph T Hill Sf                                                                              ,               I    —
 Title:        Vice President .               __ J
 Cwnpanyk      Ani & Joe ABatement & SemoiHion LLC                                       ...........    ................................................................... 04/11/2022...
 Address gidjpleidion^iumber(if different from notice address above);                     (Sigigmtre)              J             ...                         (Date)




Telephone number:     ................... . einail: joe hill@maii.com     _____                                                       .. ........ .
             Penaltyfor presanthtgfraudulent ehim: Fine of up to S500,()(H)or imprisonment for up to 5 years, or both. IK US.C. §S 152 and 3571,

                                                             INSTRUCTIONS FOR PROOF OF CLAIM FORM
    The instrnetiuns <»«/ definitions below are general explanations ofthe law. hi certain eirtwnsMOccs, such us bankruptcy cases notfiled tviuttrariiy by the debtor,
                                                               exceptions to these general rides may apply.
                                                                 Items to Ire completed in Proof of Claim form
Court, Name uf Debtor, and Case Number:                                                  claim is entirely unsecured. (See Definitions.) If the claim is secured, check the
Fill in the federal judicial district in which the bankruptcy case was fifed (for        box for the nature and value of properly that secures the claim, attach copies of lien
example. Centra! District of Cjrlifoniia), the debtor’s full name, and the case          documentation, and stale, as oflbcdateoflhc bankruptcy filing, the annual interest
number* If the creditor received a notice of the case from the bankruptcy court,         rale (ant! whether it is fixed or variable), and the amount past due on the claim,
all of this information is at the top of the notice.
                                                                                         5. Amount of Claim Entitled to Priority Under 11 U.S.C. g S07 (a).
Creditor's Name and Address:                                                             If any portion of the claim falls into any category shown, check the appropriate
Fill in the name of the person or entity asserting a claim and the name and              box(cs) and stole the amount entitled to priority. (See Definitions.) A claim may
address of the person who should receive notices issued during the bankruptcy            be part ly priority and partly noil-priority , For example, in some of the categories,
ease. A separate space is provided for the payment address if it differs front tile      the law limits the amount entitled to priority.
notice address. The creditor has a continuing obligation to keep the court
informed ofits current address. See Federal Rule of Bankruptev Procedure                 6. Credits:
(FRBP) 2002(g).                                                                          An authorized signature on this proof of claim serves as an acknowledgment that
                                                                                         when calculating the amount of the claim, the creditor gave the debtor credit for
1. Amount uf Claim as of Dale Case Filed:                                                any payments received toward the debt..
Stale the total amount owed to the creditor on the date of the bankruptcy filing
Follow the instructions concerning whether to complete items 4 and 5. Check              7. Documents:
the box if interest or other charges are included in the claim.                          Attach redacted copies of any documents that show the debt exists and a lien
                                                                                         secures the debt. You must also attach copies of documents that evidence perfection
2, Basis for Claim:                                                                      of any security interest and documents required by FRBP 3001(c) for claims bused
State the type of debt or how it was incurred. Examples include goods sold,              on an open-end or revolving consumer credit agreement or secured by a security
money loaned, services performed, personal injury/wrongful death, car loan,              interest in the debtor's principal residence. You may also attach a summary in
mortgage note, and credit card. If the claim is based on del it ering health care        addition to the documents themselves. FRBP 3001(c) and (d). Ifthc claim is based
goods or services, limit the disclosure uf the goods or services so ns to avoid          on delivering health care goods or services. limit disclosing confidential health care
embarrassment or the disclosure of confidential health care information: You             information Do not send original documents, as attachments may be destroyed
may be required to provide additional disclosure if an interested party objects to       after scanning.
the claim.
                                                                                         8. Dote and Signature:
3. Last Four Digits of Any Number by Which Creditor Identifies Debtor:                   The individual completing this proof of claim must sign and dale it. FRBP 9011.
Stale only the fast four digits of the debtor’s account or other number used by the      If Ilse claim is filed electronically. FRBP 5005(a)(2) authorizes courts to establish
creditor to identify the debtor.                                                         local rules specifying what constitutes a signature. If you sign this form, you
                                                                                         declare under penalty of perjury that the information provided is true and correct to
3a. Debtor May Have Scheduled Account As:                                                the best of your knowledge, information, and reasonable belief. Your signature is
Report a change in the creditor’s name, a transferred claim, or any other                also a certification that the claim meets the requirements of FRBP 9(111(b).
information that clarifies a difference between this proof nf claim and the claim        Whether the claim is filed electronically or in person, if your name is on the
as scheduled by the debtor.                                                              signature line, you are responsible fur the declaration. Print the name and title, if
                                                                                         any , of the creditor or oilier person authorized to file this claim. Slote the filer’s
3b. Uniform Claim Identifier:                                                            address and telephone number if it differs from the address given on the top nf the
If you use a uniform claim identifier, you may report it here. A uniform claim           form for purposes nf receiving notices. If the claim is filed by an authorized agent,
identifier is an optional 24-chanicter identifier that certain large crcditots use to    pint ide both the name of the individual filing the claim and the name of the agent.
facilitate electronic payment in chapter 13 cases.                                       If the authorized agent is a servicer, identify the corporate servicer as the company.
                                                                                         Criminal penalties apply for making a false statement on a proof of claim.
4. Secured Claim:
Check whether the claim is fullv or partially secured. Skip this section if lite
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BIO (Official Form 10)(04/13)                                                                                                                                                                  3

                                                 ..................... DEFINITIONS                                                                         INFORMATION

Debtor                                                                       A claim also may be secured if the creditor owes the        Acknowledgment uf Filing of Claim
A debtor is the person, corporation, or other entity                         debtor money (lias a right to sclolD.                       To receive acknowledgment of your filing, you may
that has filed a bankruptcy ease.                                                                                                        cither enclose a stamped self-addressed envelope and
                                                                             Unsecured Claim                                             a copy nf this proof of claim or you may access the
Creditor                                                                     An unsecured claim is one that does not meet the            Court’s PACER system
A creditor is a person, corporation, or other entity Io                      requirements of a secured claim. A claim may be             (www.wCer.psc.asetWs.goy) for a small fee to view
whom debtor owes a debt that was incurred before                             partly unsecured ilThe amount of the claim exceeds          your filed proof of claim.
the date of the bankruptcy tiling. Sec 11 U.S.C.                             the value of the property on which the creditor has a
§101 (10).                                                                   lien.                                                       Offers     Purchase a Claim
                                                                                                                                         Certain entities are in the business of purchasing
Claim                                                                        Claim Entitled to Priority Under 11 U.S.C. § 507            claims for an amount less than the face value of the
A claim is the creditor’s right to receive payment for                                                                                   claims. One or more of these entities may contact the
a debt owed by the debtor on the date of the                                 Priority claims are certain categories of unsecured         creditor and offer to purchase the claim. Some of the
bankruptcy filing. See II U.S.C. §T01 (5). A claim                           Claims that tire paid from the available money or           written comnwnicalions from lliese entities may
may be secured or unsecured.                                                 property in a bankruptcy ease before other unsecured        easily be confused with official court documentation
                                                                             claims.                                                     or communications from the debtor. These entities
Proof of Claim                                                                                                                           dti nol represent the bankruptcy court or the debtor.
A proof of claim is a form used by the creditor to                           Redacted                                                    The creditor has no obligation Io sell its claim.
indicate the amount of the debt owed by the debtor                           A document has been redacted when the person filing         However, if the creditor decides to sell its claim, any
on the dale of the bankruptcy filing. The creditor                           it has masked, edited out. or otherwise deleted,            transfer uf such claim is subject to FRBP 3001(e).
must tile the form with the clerk of the same                                certain information A creditor must show only the           any applicable provisions of the Bankruptcy Code
bankruptcy court in which the bankruptcy Case was                            last four digits of any social-security, individual’s       (11 U.S.C. § 101 er sa{.), and any applicable orders
tiled.                                                                       lax-identification, or fiiiancinbaccnuot number.only        of the bankruptcy court.
                                                                             the initials of a minor’s name, and only the year of
Secured Claim Under 11 U.S.C. § 506 (a)                                      any person’s date of birth. If the claim is based tin the
A secured claim is one backed by a lien on property                          delivery of health care goods or services. limit the
of tlte debtor. The claim is secured so long as the                          disclosure of the goods or services so as to avoid
creditor has the right to be paid front the property                         embarrassment or the disclosure of confidential
prior to other creditors. The atnount of the secured                         health care information.
claim cannot exceed the value olihe property. Any
amount owed to the creditor in excess of the value of                        Evidence of Perfection
lite property is an unsecured claim, Examples of                             Evidence of perfection may include a mortgage. lien,
liens on property include a mortgage on real estate or                       certificate of title, financing statement, or other
a security interest in a car. A lien may be voluntarily                      document showing that the lien has been filed or
granted by a debtor or may be obtained through a                             recorded.
court proceeding. In some states, a court judgment is
a lien....................... ............................................
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   Ani & Joe Abatement & Demolition                                         INVOICE
   1212 Burlington Ave                                               DATE:     April 12, 2022
   Delanco, NJ 08075                                              INVOICE#             21998
   856-824-0917 / 856-824-0972 (fax)                                  FOR: CAMDEN LIBRARY



   Bill To:
   Scungio Borst & Assoc LLC
   2 Riverside Drive - Suit 500
   Camden, NJ 08103
   856-757-0100



                         DESCRIPTION                                                AMOUNT

  WORK PERFORMED AT CAMDEN LIBRARY UP TO
                                                                               $         50,000.00
  11/30

    75% of 1st fl and 100% 2nd fl demo

  NOTE: STARTING 3RD FL DEMO ON 11/29. CANNO
  COMPLETE 1ST FL UNTIL BOOKS ARE GONE. WAS
  TOLD BE OUT THIS WEEK




                                                                    TOTAL      $        50,000.00

   Make all checks payable to Ani & Joe Abatement &
   Demolition LLC
   If you have any questions concerning this invoice contact Joe Hill Sr at 609-346-0916 (Cell) or
  joe_hill@mail.com

                                  THANK YOU FOR YOUR BUSINESS!
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   Ani & Joe Abatement & Demolition                                         INVOICE
   1212 Burlington Ave                                               DATE:           April 12, 2022
   Delanco, NJ 08075                                              INVOICE #                  22335
   856-824-0917 / 856-824-0972 (fax)                                   FOR:    CAMDEN LIBRARY



   Bill To:
   Scungio Borst & Assoc LLC
   2 Riverside Drive - Suit 500
   Camden, NJ 08103
   856-757-0100



                         DESCRIPTION                                                AMOUNT

   WORK PERFORMED AT CAMDEN LIBRARY UP TO
                                                                               $        60,000.00
   3/3/22

    Demo on floors 1, 2 & 3




                                                                    TOTAL      $        60,000.00

   Make all checks payable to Ani & Joe Abatement &
   Demolition LLC
   If you have any questions concerning this invoice contact Joe Hill Sr at 609-346-0916 (Cell) or
  joe_hill@mail.com

                                  THANK YOU FOR YOUR BUSINESS!
